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                           UNITED STATES DISTRICT COURT
  9
                          CENTRAL DISTRICT OF CALIFORNIA
 10

 11   JAVIER QUIROZ,                          )   Case No. 2:16-cv-04779-JFW-E
                                              )
 12               Plaintiff,                  )   STATEMENT OF DECISION
                                              )   GRANTING DEFENDANT
 13         vs.                               )   CAVALRY SPV I, LLC’S MOTION
                                              )   TO COMPEL ARBITRATION
 14   CAVALRY SPV I, LLC,                     )
 15               Defendant.                  )
                                              )
 16                                           )
                                              )
 17                                           )
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      STATEMENT OF DECISION GRANTING DEFENDANT CAVALRY SPV I, LLC’S MOTION TO COMPEL
      ARBITRATION
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  1         Having read and considered the papers and arguments of the parties, the Court
  2   finds and concludes as follows:
  3   I.    RELEVANT FACTUAL BACKGROUND
  4         On January 4, 2011, plaintiff Javier Quiroz (“Quiroz”) and his wife visited
  5   Santa Paula Dental Care, where his wife was obtaining dental work. See ECF No. 1
  6   ¶ 12; ECF No. 32 ¶ 5. To pay for the services, Quiroz submitted an application to
  7   GE Money Bank, which is now named Synchrony Bank (“Synchrony”), for a
  8   CareCredit account.1 See ECF No. 28-1 ¶ 6, Ex. 1; ECF No. 32 ¶ 7. All Synchrony
  9   CareCredit accounts are governed by a written agreement setting forth the terms and
 10   conditions of the account (the “Card Agreement”). See ECF No. 28-1 ¶ 7. As part of
 11   the account-opening process, Synchrony requires merchant providers, like Santa
 12   Paula Dental Care, to give customers a copy of the blank CareCredit account
 13   application, which includes the Card Agreement as an attachment. Id. ¶ 7, Ex. 2.
 14   The application expressly informs the customer that Card Agreement:
 15                (1) INCLUDES A DISPUTE AND CLAIM RESOLUTION
                   (INCLUDING ARBITRATION) PROVISION THAT MAY
 16                LIMIT MY RIGHTS UNLESS I REJECT THAT
                   PROVISION UNDER THE AGREEMENT’S
 17                INSTRUCTIONS.
 18   Id. at 17 ¶ 3. Once the application is completed, the Card Agreement is detached
 19   from the application and given to the consumer by the merchant provider. Id. ¶ 7.
 20         Once Synchrony approves the application and opens the account, the bank
 21   mails a copy of the Card Agreement to the customer, along with the actual credit
 22   card. Id. ¶ 8, Ex. 3. The Card Agreement provides: “By opening or using your
 23   account, you agree to the terms of the Agreement. The Agreement starts when (i)
 24   you give us an account application or (ii) you use your account or let someone else
 25   use it, whichever occurs first.” Id. Ex. 3 at 32 ¶ 1.
 26         The Card Agreement also includes a provision that provides for individual,
 27
      1
 28    Synchrony is a federally charted Savings Association based in Utah. See Doc. No.
      28-1 at ¶ 1.
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  1   non-class arbitration of all disputes arising from or relating to the account (the
  2   “Arbitration Agreement”). Id. at 35 ¶ 24. It provides in relevant part as follows:
  3         DISPUTE AND CLAIM RESOLUTION (INCLUDING
            ARBITRATION) PROVISION
  4
            General/Requirement to Arbitrate. PLEASE READ THIS
  5         PROVISION CAREFULLY. UNLESS YOU SEND US THE
            REJECTION NOTICE DESCRIBED BELOW THIS PROVISION
  6         WILL APPLY TO YOUR ACCOUNT, AND MOST DISPUTES
            BETWEEN YOU AND US WILL BE SUBJECT TO INDIVIDUAL
  7         ARBITRATION. THIS MEANS THAT: (1) NEITHER A COURT
            NOR A JURY WILL RESOLVE ANY SUCH DISPUTE; (2) YOU
  8         WILL NOT BE ABLE TO PARTICIPATE IN A CLASS ACTION
            OR SIMILAR PROCEEDING; (3) LESS INFORMATION WILL
  9         BE AVAILABLE; AND (4) APPEAL RIGHTS WILL BE
            LIMITED.
 10
            This Provision replaces any existing arbitration provision with us and
 11         will stay in force no matter what happens to your account, including
            termination. Upon demand, and except as otherwise provided below,
 12         you and we must arbitrate individually any dispute or claim between
            you, any joint cardholder and/or any additional cardholder, on the one
 13         hand; and us, our affiliates, agents and/or dealers/merchants/retailers or
            participating professionals, on the other hand, if the dispute or claim
 14         arises from or relates to your account. However, we will not require you
            to arbitrate: (1) any individual case in small claims court or your state’s
 15         equivalent court, so long as it remains an individual case in that court;
            or (2) any claim by us that only involves our effort to collect money you
 16         owe us. However, if you respond to a collection lawsuit by claiming that
            we engaged in any wrongdoing, we may require you to arbitrate.
 17
            YOU AGREE NOT TO PARTICIPATE IN A CLASS,
 18         REPRESENTATIVE OR PRIVATE ATTORNEY GENERAL
            ACTION AGAINST US IN COURT OR ARBITRATION. ALSO,
 19         YOU MAY NOT BRING CLAIMS AGAINST US ON BEHALF
            OF ANY CARDHOLDER WHO IS NOT A JOINT OR
 20         ADDITIONAL CARDHOLDER WITH YOU ON YOUR
            ACCOUNT (AN “UNRELATED CARDHOLDER”), AND YOU
 21         AGREE THAT NO UNRELATED CARDHOLDER MAY BRING
            ANY CLAIMS AGAINST US ON YOUR BEHALF. CLAIMS BY
 22         YOU AND BY AN UNRELATED CARDHOLDER MAY NOT BE
            JOINED IN A SINGLE ARBITRATION.
 23
      Id. The Arbitration Agreement also provides a specific procedure by which the
 24
      customer can reject the requirement that he arbitrate his disputes:
 25
            Rejecting this Provision. You may reject this Provision, in which case
 26         only a court may be used to resolve any dispute or claim. Rejection will
            not affect any other aspect of this Agreement. To reject, you must send
 27         us a notice within 60 days after you open your account or we first
            provide you with a right to reject this Provision. The notice must include
 28         your name, address, and account number and be mailed to GE Money
            Bank, P.O. Box 981429, El Paso, TX 79998-1429. This is the only way
                                                 -2-
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            you can reject this provision.
  1
      Id.
  2
            Thus, the Card Agreement was provided to Quiroz twice: once when he
  3
      applied for the CardCredit account on January 4, 2011, and again when Synchrony
  4
      mailed him the Card Agreement, along with the credit card, on January 5, 2011. See
  5
      ECF No. 28-1 ¶¶ 6-10. Quiroz used the account to finance his wife’s dental care,
  6
      received monthly billing statements, and made payments in response to the
  7
      statements. Id. ¶¶ 8-11; see also ECF No. 32 ¶¶ 5-9. Upon receiving the Card
  8
      Agreement in the mail, Quiroz did not exercise his right to reject the Arbitration
  9
      Agreement. See ECF No. 28-1 ¶¶ 13-14.
 10
            After Quiroz failed to pay the balance due, his account was charged off and
 11
      sold to defendant Cavalry SPV I, LLC (“Cavalry”). Id. ¶ 15; ECF No. 28-2 ¶¶ 4-5.2
 12
      Cavalry then began contacting Quiroz to attempt to collect the balance owed on the
 13
      account, and eventually filed suit against him on July 2, 2015 in Ventura County
 14
      Superior Court. See ECF No. 1 ¶¶ 19-20. On March 25, 2016, Cavalry dismissed
 15
      that action without prejudice.
 16
            On June 29, 2016, Quiroz filed a putative class action Complaint against
 17
      Cavalry. In his Complaint, Quiroz alleges that Santa Paula Dental Care failed to
 18
      obtain his signature on a notice he alleges was required by the former version of
 19
      section 654.3(c) of the California Business and Professions Code (“Section 654.3
 20
      Notice” or “Notice”). Id. ¶ 18; ECF No. 32 ¶ 7.3 Quiroz also alleges that his unpaid
 21
      balance on the account “was invalid and uncollectible” because his dentist failed to
 22
      provide him the Section 654.3 Notice. See ECF No. 1 ¶ 18. In his Complaint,
 23
      Quiroz alleges causes of action for: (1) violation of the Fair Debt Collection Practices
 24
      Act, 15 U.S.C. § 1692, et seq.; (2) violation of the Rosenthal Fair Debt Collection
 25

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        The Card Agreement expressly authorized Synchrony to “sell, assign or transfer
 27   any or all of [it’s] rights or duties under the Agreement or [Quiroz’s] Account.” See
      ECF No. 28-1, Ex. 3 at 35 ¶ 26.
 28
      3
        The Code provision was effective from January 1, 2011 to December 31, 2014.
                                                -3-
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  1   Practices Act, Cal. Civ. Code § 1788, et seq.; and (3) violation of the Unfair
  2   Competition Law, Cal. Bus. & Prof. Code § 17200, et seq. Id. ¶¶ 37-74.
  3   II.   LEGAL STANDARD
  4         Section 2 of the FAA4 mandates that binding arbitration agreements in
  5   contracts “evidencing a transaction involving [interstate] commerce . . . shall be
  6   valid, irrevocable, and enforceable, save upon such grounds as exist at law or in
  7   equity for the revocation of any contract.” 9 U.S.C. § 2; see Buckeye Check Cashing,
  8   Inc. v. Cardegna, 546 U.S. 440, 443 (2006) (“Section 2 [of the FAA] embodies the
  9   national policy favoring arbitration and places arbitration agreements on equal
 10   footing with all other contracts.”); see also AT&T Mobility, 131 S. Ct. at 1748
 11   (“Section 2 [of the FAA] makes arbitration agreements ‘valid, irrevocable, and
 12   enforceable’ as written . . . .”). The Supreme Court has repeatedly recognized the
 13   FAA is extremely broad and applies to any transaction directly or indirectly affecting
 14   interstate commerce. See Allied-Bruce Terminix Cos. v. Dobson, 513 U.S. 265, 277
 15   (1995); Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395, 401 (1967).
 16         The FAA promotes a “liberal federal policy favoring arbitration agreements,”
 17   and “questions of arbitrability must be addressed with a healthy regard for the federal
 18   policy favoring arbitration.” Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.,
 19   460 U.S. 1, 24 (1983); see also Perry v. Thomas, 482 U.S. 483, 490-91 (1987);
 20   AT&T Mobility LLC, 131 S. Ct. at 1745. In fact, the Supreme Court has confirmed
 21   that the “‘principal purpose’ of the FAA is to ‘ensur[e] that private arbitration
 22   agreements are enforced according to their terms.’” AT&T Mobility, 131 S. Ct. at
 23   1748.5 The Court has stated the FAA “leaves no place for the exercise of discretion
 24   by a district court, but instead mandates that district courts shall direct the parties to
 25

 26   4
        There is no dispute that the FAA governs the Arbitration Agreement. See ECF No.
      28-1, Ex. 3 at 35 ¶ 24.
 27
      5
        See also Volt Info. Scis., Inc. V. Board of Trs. Of Leland Stanford Junior Univ., 27
 28   489 U.S. 468, 479 (1989); Stolt-Nielsen S.A. v. Animalfeeds Int’l Corp., 559 U.S.
      662, 28 684 (2010).
                                                  -4-
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  1   proceed to arbitration.” Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218
  2   (1985) (italics in original).
  3          Under the FAA, arbitration must be compelled where: (1) a valid, enforceable
  4   agreement to arbitrate exists; and (2) the claims at issue fall within the scope of that
  5   agreement. See, e.g., Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207 F.3d 1126,
  6   1130 (9th Cir. 2000). An arbitration agreement governed by the FAA is presumed to
  7   be valid and enforceable. See Shearson/American Express, Inc. v. McMahon, 482
  8   U.S. 220, 226 (1987); Mitsubishi Motors Corp. v. Soler Chrysler- Plymouth, Inc.,
  9   473 U.S. 614, 626-27 (1985).
 10          The FAA “establishes that, as a matter of federal law, any doubts concerning
 11   the scope of arbitrable issues should be resolved in favor of arbitration.” Moses H.
 12   Cone, 460 U.S. at 24-25. The party resisting arbitration bears the burden of showing
 13   the arbitration agreement is invalid or does not encompass the claims at issue. See
 14   Green Tree Fin. Corp.-Ala. v. Randolph, 531 U.S. 79, 92 (2000). “[W]here the
 15   contract contains an arbitration clause, there is a presumption of arbitrability.”
 16   Comedy Club, Inc. v. Improv W. Assocs., 553 F. 3d 1277, 1284 (9th Cir. 2009).
 17   III.   DISCUSSION
 18          A.     Quiroz Agreed To Arbitrate His Claims In This Action
 19          The undisputed evidence establishes that Quiroz entered into an enforceable
 20   agreement to arbitrate. The Card Agreement expressly provides: “By opening or
 21   using your account, you agree to the terms of this Agreement. This Agreement starts
 22   when (i) you give us an account application we approve or (ii) you use your account
 23   or let someone else use it, whichever occurs first.” ECF No. 28-1, Ex. 2 at 19 ¶ 1; id.
 24   Ex. 3 at 32 ¶ 1 (emphasis added). There is no dispute that Quiroz opened the
 25   account, used it to finance dental work for his wife, was mailed the Card Agreement,
 26   received billing statements, and made payments on the account in response to those
 27   billing statements. As a result, the Court concludes that Quiroz entered into the Card
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                                                 -5-
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  1   Agreement, which contained the Arbitration Agreement.6 Although the Arbitration
  2   Agreement provided for a specific procedure for opting out of it, Quiroz did not avail
  3   himself of that procedure.
  4         Quiroz’s contentions that he “do[es] not think” that he signed an application
  5   and did not receive the Card Agreement during his visit to the dentist’s office (ECF
  6   No. 32 ¶¶ 7-8) are insufficient to refute the undisputed evidence before the Court.7
  7   Quiroz’s signature was not required for him to accept the Card Agreement. ECF No.
  8   28-1, Ex. 2 at 19 ¶ 1; id. Ex. 3 at 32 ¶ 1; see also Nghiem v. NEC Elec., Inc., 25 F.3d
  9   1437, 1439 (9th Cir. 1994) (the FAA “does not require that the writing be signed by
 10   the parties.”). Moreover, he does not dispute receiving the Card Agreement, which
 11   Synchrony mailed to him at the same address at which he received his statements.
 12   Thus, the Court finds that Quiroz agreed to arbitrate his claims pursuant to the
 13   Arbitration Agreement.
 14         B.     Quiroz’s Challenge To The Validity of the Card Agreement Based
 15                On His Dentist’s Alleged Failure To Provide The 654.3 Notice Is
                   For The Arbitrator To Decide
 16
            Quiroz argues that he should not be bound by the Arbitration Agreement
 17
      because he purportedly did not receive and sign the Section 654.3 Notice and,
 18
      therefore, the Card Agreement and Arbitration Agreement were never “formed.” See
 19
      ECF No. 31 at 8:13-11:21. The Court disagrees.
 20

 21   6
        The Card Agreement and Arbitration Agreement each contain a choice-of-law
      provision that, under certain circumstances, call for the application of Utah law.
 22   Because the Court concludes that the same result follows under California or Utah
      law, the Court does not need to engage in a choice-of-law analysis.
 23
      7
        See, e.g., Grabowski v. Robinson, 817 F. Supp. 2d 1159, 1168 (S.D. Cal. 2011) (“it
 24   is not sufficient for the party opposing arbitration to utter general denials of the facts
      on which the right to arbitration depends”) (citations omitted); Harden v. Lanier
 25   Worldwide, Inc., No. C07-5043-RJB, 2007 WL 836719, at *2 (W.D. Wash. Mar. 15,
      2007) (party “must first unequivocally deny that the agreement had been made and
 26   must also produce some evidence to substantiate the denial”); Wold v. Dell Fin.
      Servs., L.P., 598 F. Supp. 2d 984, 987 (D. Minn. 2009) (“The combination of
 27   [plaintiff’s] performance of the contract (paying off his debt to [defendant]) with a
      presumption that ‘a properly mailed document is received by the addressee,’ . . . ,
 28   leads this Court to find that a valid arbitration agreement did exist between [plaintiff]
      and [defendant].”) (citation omitted).
                                                 -6-
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  1         As explained by the Supreme Court, “[c]hallenges to the validity of arbitration
  2   agreements . . . can be divided into two types.” Buckeye Check Cashing, Inc. v.
  3   Cardegna, 546 U.S. 440, 444 (2006) (emphasis added). “One type challenges
  4   specifically the validity of the agreement to arbitrate.” Id. “The other challenges the
  5   contract as a whole, either on a ground that directly affects the entire agreement (e.g.,
  6   the agreement was fraudulently induced), or on the ground that the illegality of one
  7   of the contract’s provisions renders the whole contract invalid.” Id. A challenge to
  8   the validity of the arbitration agreement itself must be determined by the court. See
  9   id. at 445 (citing Prima Paint Corp. v. Flood & Conklin Mfg. Co., 388 U.S. 395, 403-
 10   404 (1967)). However, a challenge to the validity of the contract as a whole must be
 11   determined by the arbitrator. See id. (citing Prima Paint, 388 U.S. at 403-404).
 12         If the Court finds that there is an enforceable arbitration agreement, then, “[a]s
 13   a matter of substantive federal arbitration law,” the arbitration agreement is “is
 14   severable from the remainder of the contract.” See id. at 445. An arbitration
 15   agreement survives even “in a contract that the arbitrator later finds to be void.” Id.
 16   at 448; see also Rent-A-Ctr. W., Inc. v. Jackson, 561 U.S. 63, 70 (2010) (a challenge
 17   to the contract as a whole “does not prevent a court from enforcing a specific
 18   agreement to arbitrate”). Thus, an arbitrator may resolve the merits of a dispute even
 19   if the arbitrator finds the contract as a whole to be void for illegality or otherwise
 20   unenforceable. See Buckeye, 546 U.S. at 448-49 (“the Prima Paint rule permits a
 21   court to enforce an arbitration agreement in a contract that the arbitrator later finds to
 22   be void”); Rent-A-Ctr., 561 U.S. at 70-71 (“as a matter of substantive federal
 23   arbitration law, an arbitration provision is severable from the remainder of the
 24   contract”) (quoting Buckeye, 546 U.S. at 445)).
 25         Quiroz cannot avoid this well-settled authority by arguing that the Card
 26   Agreement was never “formed.” Although the Ninth Circuit has held that
 27   “challenges to the existence of a contract as a whole must be determined by the court
 28   prior to ordering arbitration,” Sanford v. MemberWorks, Inc., 483 F.3d 956, 962 (9th
                                                  -7-
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  1   Cir. 2007) (italics in original), Quiroz’s challenge under Section 654.3, despite how
  2   he characterizes it in his opposition to the motion to compel arbitration, does not go
  3   to the existence of the Card Agreement; instead, it goes to the Card Agreement’s
  4   validity. See Symetra Life Ins. Co. v. Rapid Settlements Ltd., No. CIV A H-05-3167,
  5   2007 WL 114497, *21 (S.D. Tex. Jan. 10, 2007) (holding that failure to comply with
  6   statute “goes to the contract’s validity, not its existence”); Jensen v. Quik Int'l, 820
  7   N.E.2d 462, 467 (Ill. 2004) (statutory compliance with disclosure requirement was
  8   not “condition precedent” to contract formation).8
  9         Plaintiff’s challenge is similar to that in Buckeye, where the plaintiff opposed
 10   arbitration by arguing that the arbitration agreement was unenforceable because the
 11   contract was “illegal” under Florida’s lending and consumer-protection laws. See
 12   Buckeye, 546 U.S. at 443. The Supreme Court explained, “The issue of the
 13   contract’s validity is different from the issue whether any agreement between the
 14   alleged obligor and obligee was ever concluded,” id. at 444 n.1, and held that a
 15   challenge to an arbitration agreement based on a contract’s alleged illegality was “a
 16   challenge to the validity of the contract as a whole . . . [that] must go to the
 17   arbitrator,” id. at 449. As in Buckeye, Quiroz alleges that the failure to provide the
 18   Section 654.3 Notice “renders the underlying contract illegal and, therefore, void.”
 19   See ECF No. 1 ¶ 53; see also id. ¶ 7 (credit accounts “violate this statute and are
 20   unlawful and uncollectible” and “credit agreements are unenforceable”); ECF No. 31
 21   at 8:18 (“any contract allegedly entered in violation of [Section 654.3(c)] is illegal”).
 22   Thus, even assuming that Section 654.3 applies in this case (which is an issue that
 23   the Court does not reach), Cavalry’s alleged failure to comply with it would not
 24   affect the validity of the Arbitration Agreement, only the validity of the Card
 25
      8
 26     The Court grants Cavalry’s request for judicial notice of a tentative ruling and final
      order issued by Judge Jane Johnson of the Los Angeles County Superior Court in the
 27   matter Martinez v. Cach, LLC, et al., which granted the defendants’ motion to
      compel arbitration under similar circumstances. See Doc. No. 28-3. The Court notes
 28   that Judge Johnson rejected the same argument Quiroz’s attorneys make in this case.
      See Id. at 8.
                                                  -8-
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  1   Agreement, and challenges to the validity of the Card Agreement as a whole must be
  2   determined by the arbitrator. See Graf v. Match.com, LLC, No. CV 15-3911 PA
  3   (MRWX), 2015 WL 4263957 (C.D. Cal. July 10, 2015).
  4         C.      The Arbitration Agreement Is Not Unconscionable
  5         Quiroz contends that the Arbitration Agreement should not be enforced
  6   because it is both procedurally and substantive unconscionable. The Court
  7   disagrees.9
  8         The Arbitration Agreement is not procedurally unconscionable because Quiroz
  9   had sixty days after he opened the account to opt out of the Arbitration Agreement
 10   but did not do so. See, e.g., Mohamed v. Uber Techs., Inc., 836 F.3d 1102, 1111 (9th
 11   Cir. 2016); Kilgore v. KeyBank, Nat’l Ass’n, 718 F.3d 1052, 1059 (9th Cir. 2013). In
 12   addition, the Arbitration Agreement is not procedurally unconscionable because it
 13   allegedly was not provided to Quiroz in Spanish. See, e.g., Chico v. Hilton
 14   Worldwide, Inc., No. CV 14-5750-JFW SSX, 2014 WL 5088240 (C.D. Cal. Oct. 7,
 15   2014); Sanchez v. CleanNet USA, Inc., 78 F.Supp.3d 747, 755 (N.D. Ill. 2015).
 16   There is no evidence that Quiroz attempted to ask questions about the Arbitration
 17   Agreement or requested a translator, and there is no evidence that such a request
 18   would have been refused.
 19         Quiroz’s substantive unconscionability arguments are also without merit.
 20   Quiroz claims that the Arbitration Agreement lacks mutuality because Cavalry is
 21   entitled to demand arbitration of counterclaims in collection lawsuits, but that he is
 22   not able to arbitrate the collection lawsuit itself. However, Quiroz has misread the
 23   Arbitration Agreement. Although the Arbitration Agreement states that Cavalry will
 24   not require Quiroz to arbitrate a collection lawsuit, it does not preclude Quiroz from
 25   compelling Cavalry to arbitrate such a case. See ECF No. 28-1, Ex. 3 at 35 ¶ 24.
 26
      9
 27    The same analysis applies under both California and Utah law. See O’Brien v. Am.
      Exp. Co., 2012 WL 1609957, *4 (S.D. Cal. May 8, 2012) (“As in California, a two-
 28   pronged analysis is used [under Utah law] to determine whether a contract is
      unconscionable – substantive and procedural unconscionability.”).
                                                 -9-
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  1   Therefore, the Arbitration Agreement provides rights to Qurioz that are broader than
  2   those provided to Cavalry.
  3         Similarly, the Arbitration Provision does not allow Cavalry to impose
  4   additional fees on Quiroz by refusing to pay those fees. Instead, Cavalry only has (at
  5   most) discretion to refuse to pay the maximum amount the consumer must pay to
  6   either JAMS or AAA, which Quiroz concedes is no more than $250. That is not
  7   unconscionable.
  8         Finally, the Utah choice-of-law clause does not render the Arbitration
  9   Agreement unconscionable. The choice-of-law provision in the case Quiroz relies
 10   on, Pinela v. Neiman Marcus Group, Inc., 238 Cal. App. 4th 227 (2015), reh'g
 11   denied (July 29, 2015), review denied (Sept. 16, 2015), is distinguishable. Unlike in
 12   Pinela, this Court and not the arbitrator must determine the validity of the Arbitration
 13   Agreement. See Meadows v. Dick’s Barbecue Rests. Inc., 144 F. Supp. 3d 1069,
 14   1084 (N.D. Cal. 2015). In addition, unlike in Pinela, nothing in the Arbitration
 15   Agreement prevents the arbitrator from conducting a choice-of-law analysis to
 16   determine whether California statutory law might apply to Quiroz’s substantive
 17   claims. See ECF No. 28-1, Ex. 3 at 35 ¶ 24.
 18         For the reasons stated herein, Cavalry’s motion to compel arbitration is
 19   GRANTED and this action is STAYED pending the results of arbitration.
 20

 21
      DATED: November 16, 2016               __________________________________
 22
                                             Hon. John F. Walter
 23                                          United States District Judge
 24

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